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                    EXHIBIT 4
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UnitedHealthcare
185 Asylum Street
Cityplace I
Hartford, CT 06103

                                                                             October 17, 2020


G/GA6L8672BW

HARRIS PHARMACEUTICALINC
9090 PARK ROYAL DRIVE
FORT MYERS, FL 339080000

Dear Customer:
Enclosed in this package are your Group coverage documents. Depending on the type(s) of coverage you have
selected there may be one or more sets of Master Documents. Please keep all Master Documents and any
applicable amendment(s) with your other coverage records.
Please distribute one copy of the coverage document(s) to each of your covered Employees.
For your convenience, you no longer need to order document(s) for new hires. As future Employees become
covered, you will be sent a copy of the document(s) for each new employee. If an employee has misplaced their
coverage document(s), please continue to call the Customer Service Center.
If you have any questions about this information, please contact your UnitedHealthcare Customer Service Center
at the number on the back of your ID card.

                                                                Very truly yours,




                                                                Christopher Hock
                                                                UnitedHealthcare
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       UnitedHealthcare Insurance
               Company

          Group Policy
              For
  HARRIS PHARMACEUTICAL INC

                 UnitedHealthcare
                   Choice Plus
Group Number: G/GA6L8672BW Health Plan: AU - YU Prescription Code: 851
                     Effective Date: July 1, 2020
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                    UnitedHealthcare Insurance Company

                                              185 Asylum Street
                                           Hartford, CT 06103-3408
                                                1-800-357-1371



      Please call Customer Service at 1-800-357-1371 for
   assistance regarding inquiries, resolving a complaint or
     obtaining information about Benefits and coverage.
Note: Call the telephone number on your ID card, or check our website www.myuhc.com to determine
appropriate providers to contact in the case of an Emergency Medical Condition and other information
regarding Emergency Health Care Services within the community. In some cases, the most cost effective
action may be to visit an Urgent Care Center. Check your Schedule of Benefits to determine the
Co-payment or Co-insurance for a visit to the Urgent Care Center or your Physician’s office, rather than
seeking care at an emergency room in a Hospital.
Our website www.myuhc.com also includes a health care cost estimator and information regarding plan
details, such as Co-payments and Co-insurance for various services, any required deductible and the
status of your Out-of-Pocket Limit.
WARNING: LIMITED BENEFITS WILL BE PAID WHEN OUT-OF-NETWORK PROVIDERS ARE USED. You
should be aware that when you elect to utilize the services of an out-of-Network provider for a covered service
(other than Emergency Health Care Services), benefit payments to the out-of-Network provider are not based
upon the amount the out-of-Network provider charges. The basis of the payment will be determined according to
the Contract’s out-of-Network reimbursement benefit. Out-of-Network providers may bill you for any difference in
the amount.
YOU MAY BE REQUIRED TO PAY MORE THAN THE CO-INSURANCE OR CO-PAYMENT AMOUNT. Network
providers have agreed to accept discounted payments for services with no additional billing to you other than
Co-insurance, Co-payment, and Deductible amounts. You may obtain further information about the providers
who have contracted with us by referring to our website at www.myuhc.com or your agent directly.




      The Certificate of Coverage and Schedule of Benefits
                       contain a deductible.




   William J Golden, President


UnitedHealthcare Insurance Company




PCOV20.I.2018.SG.FL
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                                              Group Policy

                      UnitedHealthcare Insurance Company
                                                   185 Asylum Street
                                              Hartford, CT 06103-3408
                                                    1-800-357-1371
This Policy is entered into by UnitedHealthcare Insurance Company and the "Group," as described in Exhibit 1.
When used in this document, the words "we," "us," and "our" refer to UnitedHealthcare Insurance Company.
Upon our receipt of the signed Group Application and payment of the first Policy Charge, this Policy is executed.
The Group’s Application is made a part of this Policy.
We agree to provide Benefits for Covered Health Care Services stated in this Policy, including the attached
Certificate(s) of Coverage and Schedule(s) of Benefits, subject to the terms, conditions, exclusions, and limitations
of this Policy. This Policy replaces and overrules any previous agreements relating to Benefits for Covered Health
Care Services between the Group and us. The terms and conditions of this Policy will in turn be overruled by
those of any future agreements relating to Benefits for Covered Health Care Services between the Group and us.
We are not an employer or plan administrator for any purpose with respect to the administration or provision of
benefits under the Group’s benefit plan. We are not responsible for fulfilling any duties or obligations of an
employer or plan administrator with respect to the Group’s benefit plan.
This Policy is effective on the date shown in Exhibit 1 and continues in force by the timely payment of the required
Policy Charges when due, subject to the end of this Policy as provided in Article 5.
When this Policy ends, as described in Article 5, this Policy and all Benefits under this Policy will end at 12:00
midnight on the date the Policy ends.
This Policy is issued as described in Exhibit 1.
Issued By:
UnitedHealthcare Insurance Company




   William J Golden, President




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Article 1: Glossary of Defined Terms
The terms used in this Policy have the same meanings as those defined in Section 9: Defined Terms in the
attached Certificate(s) of Coverage. In addition, the following terms apply:
Coverage Classification - one of the categories of coverage described in Exhibit 2 for rating purposes (for
example: Subscriber only, Subscriber and spouse, Subscriber and children, Subscriber and family).
Material Misrepresentation - any oral or written communication or conduct, or combination of communication
and conduct, that is untrue and is intended to create a misleading impression in the mind of another person. A
misrepresentation is material if a reasonable person would attach importance to it in making a decision or
determining a course of action, including but not limited to, the issuance of a policy or coverage under a policy,
calculation of rates, or payment of a claim.

Article 2: Benefits
Subscribers and their Enrolled Dependents are entitled to Benefits for Covered Health Care Services subject to
the terms, conditions, limitations and exclusions stated in the Certificate(s) of Coverage and Schedule(s) of
Benefits attached to this Policy. Each Certificate of Coverage and Schedule of Benefits, including any Riders and
Amendments, describes the Covered Health Care Services, required Co-payments, and the terms, conditions,
limitations and exclusions related to coverage.

Article 3: Premium Rates and Policy Charge

3.1 Premiums
Monthly Premiums payable by or on behalf of Covered Persons are shown in the Schedule of Premium Rates in
Exhibit 2 of this Policy or in any attached Notice of Change.
We have the right to change the Schedule of Premium Rates as described in Exhibit 1 of this Policy. We also have
the right to change the Schedule of Premium Rates at any time if the Schedule of Premium Rates was based upon
a Material Misrepresentation that resulted in the Premium rates being lower than they would have been if the
Material Misrepresentation had not been made. We have the right to change the Schedule of Premium Rates for
this reason retroactive to the effective date of the Schedule of Premium Rates that was based on the Material
Misrepresentation.


3.2 How Is the Policy Charge Calculated?
The Policy Charge will be calculated based on the number of Subscribers in each Coverage Classification that we
show in our records at the time of calculation. The Policy Charge will be calculated using the Premium rates in
effect at that time. Exhibit 1 describes the way in which the Policy Charge is calculated.
The Group is solely responsible for enrollment and Coverage Classification changes (including the end of a
Covered Person’s coverage) and for the timely payment of the Policy Charges.


3.3 When Is the Policy Charge Adjusted?
We may make retroactive adjustments for any additions or terminations of Subscribers or changes in Coverage
Classification that are not reflected in our records at the time we calculate the Policy Charge. We will not grant
retroactive credit for any change happening more than 45 days prior to the date we received notification of the
change from the Group. We also will not grant retroactive credit for any calendar month in which a Subscriber
has received Benefits.
The Group must notify us in writing within 60 days of the effective date of enrollments, terminations, or other
changes. The Group must notify us in writing each month of any change in the Coverage Classification for any
Subscriber.
If premium taxes, guarantee or uninsured fund assessments, or other governmental charges relating to or
calculated in regard to Premium are either imposed or increased, those charges will be added to the Premium at
that time. In addition, any change in law or regulation that affects our cost of operation may result in an increase



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in Premium in an amount we determine.


3.4 How Is the Policy Charge Paid?
The Policy Charge is payable to us in advance by the Group as described under "Payment of the Policy Charge"
in Exhibit 1. The first Policy Charge is due and payable on or before the effective date of this Policy. Future Policy
Charges are due and payable no later than the first day of each payment period shown in item 6 of Exhibit 1,
while this Policy is in force.
All payments shall be made in United States currency, in immediately available funds, and shall be sent to us at
the address on the invoice, or at another address that we may designate in writing. The Group agrees not to send
us payments marked "paid in full", "without recourse", or similar language. In the event that the Group sends such
a payment, we may accept it without losing any of our rights under this Policy and the Group will remain
obligated to pay any and all amounts owed to us.
Late payment charges are assessed for any Policy Charge not received within 10 calendar days following the due
date. There will be a service charge added to the Group’s account for any check returned for non-sufficient funds.
The names of all Covered Persons must be attached when payment is made.
The Group will reimburse any attorney’s fees and costs related to collecting past due Policy Charges.


3.5 Does a Grace Period Apply?
A grace period of 31 days will be granted for the payment of any Policy Charge not paid when due. During the
grace period, this Policy will continue in force. The grace period will not extend beyond the date this Policy ends.
The Group is responsible for payment of the Policy Charge during the grace period. If we receive written notice
from the Group to end this Policy during the grace period, we will adjust the Policy Charge so that it applies only
to the number of days this Policy was in force during the grace period.
This Policy ends as described in Article 5.1 if the grace period expires and the past due Policy Charge remains
unpaid.

Article 4: Eligibility and Enrollment

4.1 What Are the Eligibility Rules?
Eligibility rules for each class are stated in Exhibit 2 and in the Group Application. The eligibility rules stated in
Exhibit 2 are in addition to those shown in Section 3: When Coverage Begins of the Certificate of Coverage.


4.2 Initial Enrollment Period
Eligible Persons and their Dependents may enroll for coverage under this Policy during the Initial Enrollment
Period. The Initial Enrollment Period is set by the Group.


4.3 Open Enrollment Period
An Open Enrollment Period will be provided for each class, as shown in Exhibit 2. During an Open Enrollment
Period, Eligible Persons may enroll for coverage under this Policy.


4.4 Effective Date of Coverage
The effective date of coverage for enrolled Eligible Persons and their Dependents is stated in Exhibit 2.




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Article 5: End of Policy

5.1 When Does the Policy End?
This Policy and all Benefits for Covered Health Care Services will automatically end on the earliest of the dates
shown below:
A.   On the last day of the grace period if the Policy Charge remains unpaid and written notice of termination
     was sent to the Group within 45 days after the due date. The Group remains responsible for payment of
     the Policy Charge for the period of time this Policy remained in force during the grace period.
B.   On the date specified by the Group, after at least 45 days prior written notice to us that this Policy will end.
C.   On the date we specify, after at least 45 days prior written notice to the Group, that this Policy will end due
     to the Group’s violation of the participation and contribution rules as shown in Exhibit 1.
D.   On the date we specify, after at least 45 days prior written notice to the Group, that this Policy will end
     because the Group performed an act, practice or omission that constituted fraud or made an intentional
     misrepresentation of a fact that was material to the execution of this Policy or to the provision of coverage
     under this Policy. In this case, we have the right to rescind this Policy back to either:
         The effective date of this Policy.
         The date of the act, practice or omission, if later.
E.   On the anniversary renewal date we specify, after at least 90 days prior written notice to the Group and to
     each Subscriber, that this Policy will end because we will no longer issue this particular type of group
     health benefit plan within the applicable market.
F.   On the anniversary renewal date we specify, after at least 180 days prior written notice to the applicable
     state authority and to the Group and to each Subscriber, that this Policy will end because we will no longer
     issue any employer health benefit plan within the applicable market.


5.2 Payment When the Policy Ends
When the Policy ends, the Group is and will remain responsible to us for the payment of any and all Premiums
which are unpaid at the time the Policy ends. This will include a pro rata portion of the Policy Charge for any
period this Policy was in force during any grace period preceding the end of the Policy.

Article 6: General Provisions

6.1 What Is the Entire Policy?
This Policy, the Certificate(s) of Coverage, the Schedule(s) of Benefits, the Group Application, and any
Amendments, Notices of Change, and Riders, make up the entire Policy.


6.2 Dispute Resolution
Parties are encouraged to attempt, in good faith, to resolve the dispute amongst themselves. In the event the
dispute is not resolved within 30 days after one party has received written notice of the dispute from the other
party, and either party wishes to pursue the dispute further, the dispute may be submitted to arbitration as noted
below.
Arbitration will take place in Hartford County, Connecticut.
The matter must be submitted to binding arbitration within one year of the date notice of the dispute was
received. The arbitrators will have no power to award any punitive or exemplary damages or to vary or ignore the
provisions of this Policy, and will be bound by controlling law.
Arbitration is not binding and does not deprive the courts of jurisdiction. The Group does not forfeit any right to
seek judicial resolution of the dispute as a result of arbitration.
No legal action may be brought to recover on this Policy within 60 days after written proof of loss has been given



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as required by this Policy. No such action may be brought after 5 years from the time written proof of loss is
required to be given.


6.3 Statements by Group
All statements made by the Group, in the absence of fraud, will be deemed representations and not warranties
and that no statement made for the purpose of effecting coverage will avoid coverage or reduce benefits. We will
not use any statement made by the Group to void the Policy unless it is a fraudulent, written statement signed by
the Group.


6.4 Amendments and Alterations
Amendments and Riders to this Policy are effective upon the Group’s next anniversary date, unless otherwise
permitted by law. Other than changes to Exhibit 2 stated in a Notice of Change to Exhibit 2, no change will be
made to this Policy unless made by an Amendment or a Rider which is signed by one of our authorized executive
officers and consistent with applicable notice requirements. No agent has authority to change this Policy or to
waive any of its provisions.


6.5 Our Relationship with Providers and Groups
We have agreements in place that govern the relationship between us, our Groups and Network providers, some
of which are affiliated providers. Network providers enter into agreements with us to provide Covered Health Care
Services to Covered Persons.
The relationship between a Network provider and any Covered Person is that of provider and patient. The
Network provider is solely responsible for the services provided. The relationship between any Group and any
Covered Person is that of employer and employee, Dependent, or any other category of Covered Person
described in the Coverage Classifications shown in this Policy.
The Group is solely responsible for enrollment and Coverage Classification changes (including the end of a
Covered Person’s coverage) and for the timely payment of the Policy Charges.


6.6 Records
We may require information related to the Policy, from the Group. Upon request, the Group must provide us with
the requested information and proofs which may include:
    All documents provided to the Group by an individual in connection with coverage.
    The Group’s payroll.
    Any other records pertinent to the coverage under this Policy.
We have the right to request this information at any reasonable time. This applies to all Covered Persons,
including Enrolled Dependents whether or not they have signed the Subscriber’s enrollment form.
We agree that such information and records will be considered confidential.
We have the right to release any and all records concerning health care services which are needed to administer
the terms of this Policy including records for appropriate medical and quality review or as required by law or
regulation.
During and after the term of this Policy, we and our related entities may use and transfer the information gathered
under this Policy for research and analytic purposes.


6.7 Administrative Services
The services needed to administer this Policy and the Benefits provided under it will be provided in accordance
with our standard administrative procedures or those standard administrative procedures of our designee. If the
Group requests that administrative services be provided in a manner other than in accordance with these
standard procedures, including requests for non-standard reports, the Group must pay for such services or
reports at the then current charges for such services or reports.




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We may offer to provide administrative services to the Group for certain wellness programs including, but not
limited to, fitness programs, biometric screening programs and wellness coaching programs.


6.8 Employee Retirement Income Security Act (ERISA)
When this Policy is purchased by the Group to provide benefits under a health and welfare plan governed by the
federal Employee Retirement Income Security Act 29 U.S.C., 1001 et seq., we will not be named as, and will not
be, the plan administrator or the named fiduciary of the health and welfare plan, as those terms are used in
ERISA.


6.9 Do We Require Examination of Covered Persons?
In the event of a question or dispute concerning Benefits for Covered Health Care Services, we may require that a
Network Physician, of our choice examine the Covered Person at our expense unless a claim is pending.


6.10 What Happens When There Is a Clerical Error?
Clerical error will not deprive any individual of Benefits under this Policy or create a right to Benefits. Failure to
report enrollments is not a clerical error. We will not provide retroactive coverage for Eligible Persons when the
Group fails to report enrollments. Failure to report the end of coverage will not continue the coverage for a
Covered Person beyond the date it is scheduled to end. Upon discovery of a clerical error, any needed
adjustment in Premiums will be made. However, we will not grant any such adjustment in Premiums or coverage
to the Group for more than 60 days of coverage prior to the date we received notificatio n of the clerical error.


6.11 Is Workers’ Compensation Affected?
Benefits provided under this Policy do not substitute for and do not affect any requirements for coverage by
workers’ compensation insurance.


6.12 Conformity with Law
Any provision of this Policy which, on its effective date, is in conflict with the requirements of state or federal
statutes or regulations (of the jurisdiction in which this Policy is delivered) is deemed to be amended to follow the
minimum requirements of those statutes and regulations.


6.13 Notice
When we provide written notice regarding Policy administration to the Group’s authorized representative. Once
delivered, that notice is deemed notice to all affected Subscribers and their Enrolled Dependents. The Group is
responsible for giving notice to Covered Persons on a timely basis.
Any notice sent to us under this Policy and any notice sent to the Group must be addressed as described in
Exhibit 1.


6.14 Continuation Coverage
We agree to provide Benefits under this Policy for those Covered Persons who are eligible to continue coverage
under federal or state law, as described in Section 4: When Coverage Ends of the Certificate of Coverage.
We will not provide any administrative duties with respect to the Group’s compliance with federal or state law. All
duties of the plan sponsor or plan administrator remain the sole responsibility of the Group, including but not
limited to notification of COBRA and/or state law continuation rights and billing and collection of Premium.


6.15 Subscriber’s Individual Certificate
We will issue Certificate(s) of Coverage, Schedule(s) of Benefits, and any attachments to the Group for delivery to
each Subscriber. The Certificate(s) of Coverage, Schedule(s) of Benefits, and any attachments will show the
Benefits and other provisions of this Policy. In addition, the Certificate(s) of Coverage and Schedule(s) of Benefits
may be available online at www.myuhc.com.



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6.16 Summary of Benefits and Coverage
We will provide a Summary of Benefits and Coverage ("SBC"), as required by the Affordable Care Act and related
regulations ("ACA"), to the Group for each benefit plan purchased. The Group is responsibl e for delivering the
SBC to all Covered Persons and to other persons eligible for coverage in the manner and at the times required by
the ACA.


6.17 System Access
The term "systems" as used in this provision means systems that we make available to the Group to facilitate the
transfer of information in connection with this Policy.


System Access
We grant the Group the nonexclusive, nontransferable right to access and use the functionaliti es contained within
the systems, under the terms of this Policy. The Group agrees that all rights, title and interest in the systems and
all rights in patents, copyrights, trademarks and trade secrets encompassed in the systems will remain ours. To
access the systems, the Group will obtain, and be responsible for maintaining, at no expense to us, the hardware,
software and Internet browser requirements we provide to the Group, including any amendments to those
requirements. The Group is responsible for obtaining internet access.
The Group will not:
    Access systems or use, copy, reproduce, modify, or excerpt any of the systems documentat ion provided by
    us in order to access or use systems, for purposes other than as expressly permitted under this Policy.
    Share, transfer or lease its right to access and use systems, to any other person or entity which is not a party
    to this Policy.
The Group may designate a third party access to the systems on its behalf, provided the third party agrees to
these terms and conditions. The Group remains responsible for the third party’s compliance with the entire
System Access provision.


Security Procedures
The Group will use commercially reasonable physical and software-based measures and comply with our security
procedures, as may be amended from time to time, to protect the system, its functionalities, and data accessed
through systems from any unauthorized access or damage (including damage caused by computer viruses). The
Group will notify us immediately if any breach of the security procedures, such as unauthorized use, is
suspected.


End of System Access
We have the right to end the Group’s system access:
    On the date the Group does not accept the hardware, software and browser requirements provided by us,
    including any amendments to the requirements.
    Immediately on the date we reasonably determine that the Group has breached, or allowed a breach of, any
    applicable provision of this Policy. Upon the date this Policy ends, the Group agrees to cease all use of
    systems, and we will deactivate the Group’s identification numbers and passwords and access to the
    system.




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                                                  Exhibit 1
1.   Parties. The parties to this Policy are UnitedHealthcare Insurance Company and HARRIS
     PHARMACEUTICALINC , the Group.
2.   Effective Date. The effective date of this Policy is 12:01 a.m. on July 1, 2020 in the time zone of the
     Group’s location.
3.   Place of Issuance. We are issuing this Policy in Florida . The Policy is subject to the laws of the state of
     Florida and ERISA, unless the Group is not a private plan sponsor subject to ERISA. To the extent that
     state law applies, Florida law governs this Policy.
4.   Premiums. We have the right to change the Schedule of Premium Rates or cost summary shown in each
     Exhibit 2, after a 45-day prior written notice on the first anniversary of the effective date of this Policy
     shown in the Group Application, on any following monthly due date, or on any date the provisions of this
     Policy are amended. We also have the right to change the Schedule of Premium Rates, retroactive to the
     effective date, if a Material Misrepresentation has resulted in a lower schedule of rates.
5.   Computation of Policy Charge. A full month’s Premium will be charged for any Covered Person who is
     covered under this Policy for any portion of a calendar month.
6.   Payment of the Policy Charge. The Policy Charge is payable to us in advance by the Group on a
     monthly basis.
7.   Minimum Participation Requirement. The minimum participation requirement for the Group is 75% of
     Eligible Persons excluding spousal waivers but no less than 50% of all Eligible Persons must be enrolled
     for coverage under this Policy.
8.   Minimum Contribution Requirement. The Group must maintain a minimum contribution requirement of
     50% of the Premium for each Eligible Person.
9.   Notice. Any notice sent to us under this Policy must be sent to:
     UnitedHealthcare Insurance Company
     185 Asylum Street
     Hartford, CT 06103-3408


     Any notice sent to the Group under this Policy must be sent to:
     HARRIS PHARMACEUTICALINC
     9090 PARK ROYAL DRIVE
     FORT MYERS, FL 339080000
10. G/GA6L8672BW Group Number




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                                                    Exhibit 2
1.   Class Description.
     See Group Application.
2.   Eligibility. The eligibility rules are established by the Group. The following eligibility rules are in addition to
     the eligibility rules shown in the Group Application and/or in Section 3: When Coverage Begins of the
     Certificate of Coverage:
     A.   The waiting or probationary period for newly Eligible Persons is as follows:
          60 days
     B.   Notwithstanding Group’s eligibility rules for health plan participation, continued coverage under this
          Policy for a Covered Person on a leave of absence (LOA) will be available in accordance with the
          following, unless state, local or federal law requires a longer period of time:
               For a Covered Person on a non-medical LOA, coverage will be available for no longer than 13
               consecutive weeks from the beginning of the LOA.
               For a Covered Person on a medical LOA, coverage will be available for no longer than 26
               consecutive weeks from the beginning of the LOA.
     C.   Any required waiting period under this Section will not exceed 90 days
3.   Open Enrollment Period. An Open Enrollment Period of at least 31 days will be provided by the Group
     when Eligible Persons may enroll for coverage. The Open Enrollment Period will occur on an annual basis.
4.   Effective Date for Eligible Persons. The effective date of coverage for Eligible Persons who are eligible on
     the effective date of this Policy is July 1, 2020 .
     For an Eligible Person who becomes eligible after the effective date of this Policy, the effective date of
     coverage is the first day of the month following the last day of the required waiting period. Any required
     waiting period will not exceed 90 days.
5.   Schedule of Premium Rates.
     Monthly Premiums payable by or on behalf of Covered Persons are shown in the cost summary detailed
     through the new business premium confirmation process and renewal package.




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                                       STATEMENT OF PLAN YEAR

Important Notice:

Federal health care law will often apply to your group health plan as of the first day of the Plan Year beginning
after the effective date of the new law.


In the vast majority of situations, a group’s Plan Year and its insurance Policy Year are the same twelve month
period of time. "Plan Year" means the twelve month period that is listed in your plan document. "Policy Year"
means the twelve month period from the policy’s issuance date (or last renewal date) and its next renewal date.


Consequently, we are administering this insurance policy consistent with the presumption that your Plan Year
and insurance Policy Year are the same twelve month period of time.


If this information is not correct please contact your UnitedHealthcare representative as soon as possible.
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HARRIS PHARMACEUTICAL INC


                       Master
                Policy and Certificate

                            for your

                         Life Benefits

                     Accident Benefit

                 Dental Expense Benefits
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      UnitedHealthcare Insurance Company


               DENTAL INSURANCE


                   GROUP POLICY

                             FOR

       HARRIS PHARMACEUTICAL INC
                 GROUP NUMBER: G/GA6L8672BW
                  EFFECTIVE DATE: July 1, 2020
                     DENTAL PLAN: P4881




                     Offered and Underwritten by
                UnitedHealthcare Insurance Company
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                                              Group Policy

                     UnitedHealthcare Insurance Company

                                                 185 Asylum Street

                                              Hartford, CT 06103-3408

                                                  1-800-357-1371


This Group Policy ("Policy") is entered into by and between UnitedHealthcare Insurance Company , and the
"Enrolling Group," as stated in Exhibit 1.
Upon receipt of the Enrolling Group’s application and payment of the required Policy Charges, this Policy is
deemed executed. The Company agrees with the Enrolling Group to provide Coverage for Dental Services set
forth herein, subject to the terms, conditions, exclusions, and limitations of this Policy. The Enrolling Group’s
application is made a part of this Policy.
This Policy replaces and supersedes any previous agreements relating to the Coverage of Dental Services
between the Enrolling Group and the Company. The terms and conditions of this Policy will in turn be superseded
by those of any subsequent agreements relating to the Coverage of Dental Services between the Enrolling Group
and the Company.
The Company will not be deemed or construed as an employer for any purpose with respect to the administration
or provision of benefits under the Enrolling Group’s benefit plan. The Company will not be responsible for fulfilling
any duties or obligations of an employer with respect to the Enrolling Group’s benefit plan.
This Policy will become effective at 12:01 a.m. at the Enrolling Group’s address on the date specified in Exhibit 1,
and will be continued in force by the timely payment of the required Policy Charges when due, subject to
termination of this Policy as provided herein. When the Policy is terminated, as provided for in Article 5, this
Policy and all Coverage under this Policy will end at 12:00 midnight on the date of termination.



               This Policy Contains a Deductible Provision.
This Policy is delivered in and governed by the laws of the State of Florida .


Issued By:

UnitedHealthcare Insurance Company




   William J Golden, President




DPOL.12.FL.SM.CMM                                        1
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                                    Article 1: Definitions
The terms used in this Policy have the same meaning given those terms in the Certific ate of Coverage
("Certificate"), unless otherwise specifically defined in this Policy.


                                Article 2: Dental Services
Subscribers and their Enrolled Dependents are entitled to Coverage for Dental Services subject to the terms,
conditions, limitations and exclusions set forth in the Certificate(s) and Schedule(s ) of Covered Dental Services,
included in this Policy. The Certificate(s) and Schedule(s) of Covered Dental Services describe the Covered
Dental Services including any optional Riders and Amendments, required Copayments, and the terms, con-
ditions, limitations and exclusions related to Coverage.


              Article 3: Premium Rates and Policy Charge
Premiums
Monthly Premiums payable by or on behalf of Covered Persons are specified on Exhibit 2 to the Policy entitled
"Premiums".
The Company reserves the right to change the schedule of rates for Premiums as described in Exhibit 1.
Computation of Policy Charge
Each Policy Charge will be calculated based on the number of Subscribers in each Coverage classification the
Company shows in its records at the time of calculation, at the Premiums then in effect. The Policy Charge is
calculated as described in Exhibit 1.
Adjustments to the Policy Charge
Retroactive adjustments may be made for any additions or terminations of Subscribers or changes in Coverage
classification not reflected in the Company’s records at the time the Policy Charge is calculated by the Company.
However, no retroactive credit will be granted for any change occurring more than 60 days prior to the date the
Company received notification of the change from the Enrolling Group, nor will retroactive credit be granted for
any calendar month in which a Subscriber has received Dental Services.
The Enrolling Group will notify the Company in writing within 30 days of the effective date of enrollments,
terminations or other changes; provided, however, that the Enrolling Group will notify the Company in writing
each month of any changes in the Coverage classification of any Subscriber.
In the event there is any increase in premium tax, guarantee or uninsured fund assessment or other governmental
charges relating to or calculated in regard to Premium such increase will be automatically added to the Premium.
Payment of the Policy Charge
The Policy Charge is payable in advance by the Enrolling Group to the Company as described in Exhibit 1. The
first Policy Charge is due and payable on the effective date of the Policy. Subsequent Policy Charges are due and
payable no later than the first day of each period thereafter that the Policy is in effect.
A late payment charge will be assessed for any Policy Charge not received by the due date. A service charge will
be assessed for any non-sufficient-fund check received in payment of the Policy Charge. All Policy Charge
payments will be accompanied by supporting documentation which states the names of the Covered Persons for
whom payment is made.
The Enrolling Group will reimburse the Company for attorney’s fees and any other costs related to collecting
delinquent Policy Charges.




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           Case 2:23-ap-00009-FMD                   Doc 27-5       Filed 07/13/23       Page 19 of 42
Grace Period
A Grace Period of 31 days will be granted for the payment of any Policy Charge, during which time the Policy will
continue in force. In no event will the Grace Period extend beyond the date the Policy terminates.
This Policy will automatically terminate on the last day of the calendar month the Grace Period expires and any
Policy Charge remains unpaid, or if the Company receives written notice of termination from the Enrolling Group
during the Grace Period.


        Article 4: Eligibility and Effective Date of Coverage
Initial Eligibility Period
Eligible Persons and their Dependents may enroll for Coverage under the Policy during the Initial Eligibility
Period. The Initial Eligibility Period is the period of time agreed to by the Enrolling Group and the Company.
Open Enrollment
If specified in the Certificate , the Enrolling Group will provide an Open Enrollment Period as specified in the
Certificate, during which Eligible Persons may enroll for Coverage under the Policy.
Eligibility Conditions
The eligibility conditions stated in the application are in addition to those specified in Section 2 of the Certificate.
Effective Date of Coverage
Coverage for properly enrolled Eligible Persons and their Dependents will begin on the date stated in Exhibit 1.


                               Article 5: Policy Termination
Conditions for Termination of This Entire Policy
This Policy and all Coverage under this Policy will automatically terminate on the earliest of the dates specified
below:
A.   At the Company’s option, retroactive to the last paid date of Coverage, if the Grace Period expires and any
     Policy Charge remains unpaid.
B.   On the date specified by the Enrolling Group, after at least 45 days prior written notice to the Company
     that this Policy will be terminated.
C.   On the date specified by the Company in written notice to the Enrolling Group that this Policy will be
     terminated, due to the Enrolling Group’s violation of participation and contribution rules.
D.   On the date specified by the Company in written notice to the Enrolling Group that this Policy will be
     terminated because the Enrolling Group provided the Company with false information material to the
     execution of this Policy or to the provision of Coverage under this Policy. The Company has the right to
     rescind this Policy back to the effective date.
E.   On the date specified by the Company in written notice to the Enrolling Group that this Policy will be
     terminated because the Enrolling Group does not provide us with information that we need to administer
     the Policy or fails to perform any of its obligations that relate to the Policy.
F.   On the date specified by the Company after at least 90 days prior written notice to the Enrolling Group that
     this Policy will be terminated because the Company will no longer renew or issue this type of dental benefit
     plan within the applicable market.
G.   On the date specified by the Company after at least 180 days prior written notice to the applicable state
     authority and to the Enrolling Group that this Policy will be terminated because the Company will no
     longer renew or issue any employer dental benefit plan within the applicable market.




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Payment and Reimbursement Upon Termination
Upon any termination of this Policy, the Enrolling Group will be and will remain liable to the Company for the
payment of any and all Premiums which are unpaid at the time of termination, including a pro rata fee for any
period this Policy was in force during the Grace Period, if any, preceding the termination.


                            Article 6: General Provisions
Entire Policy
The Policy, including the Certificate(s), Schedule(s) of Covered Dental Services, the application of the Enrolling
Group, any individual Subscriber applications, Amendments and Riders will constitute the entire Policy between
parties. All statements made by the Enrolling Group or by a Subscriber will, in the absence of fraud, be deemed
representations and not warranties.
Time Limit on Certain Defenses
No statement made by the Enrolling Group, except a fraudulent statement, will be used to void this Policy after it
has been in force for a period of 2 years.
Amendments and Alterations
Amendments to the Policy are effective upon 45 days written notice to the Enrolling Group. Riders are effective on
the date specified by the Company. No change will be made to this Policy unless made by an Amendment or a
Rider which is signed by an executive officer of the Company. No agent has authority to change this Policy or to
waive any of its provisions.
Relationship Between Parties
The relationships between the Company and providers and relationships between the Company and Enrolling
Groups, are solely contractual relationships between independent contractors. Providers and Enrolling Groups
are not agents or employees of the Company, nor is the Company or any employee of the Company an agent or
employee of providers or Enrolling Groups.
The relationship between a provider and any Covered Person is that of provider and patient. The provider is
solely responsible for the services provided by it to any Covered Person. The relationship between any Enrolling
Group and any Covered Person is that of employer and employee, Dependent, or other Coverage classification
as defined in this Policy. The Enrolling Group is solely responsible for enrollment and Coverage classification
changes (including termination of a Covered Person’s Coverage through the Company) and for the timely
payment of the Policy Charge.
Records
The Enrolling Group will furnish the Company with all information and proofs which the Company may reasonably
require with regard to any matters pertaining to this Policy. The Company may at any reasonable time inspect all
documents furnished to the Enrolling Group by an individual in connection with the Coverage, and the Enrolling
Group’s payroll, and any other records pertinent to the Coverage under this Policy.
By accepting Benefits under this Policy, each Covered Person authorizes and directs any person or institution
that has provided services to them, to furnish the Company or it’s designees any and all information and records
or copies of records relating to the services provided to the Covered Person. The Company has the right to
request this information at any reasonable time. This applies to all Covered Persons, including Enrolled
Dependents whether or not they have signed the Subscriber’s enrollment form.
The Company agrees that such information and records will be considered confidential. The Company has the
right to release any and all records concerning dental services which are necessary to implement and administer
the terms of this Policy, for appropriate medical review or quality assessment, or as the Company is required by
law or regulation.
During and after the term of the Policy, the Company and its related entities may use and transfer the information
gathered under the Policy for research and analytic purposes.




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Administrative Services
The services necessary to administer this Policy and the Coverage provided under it will be provided in
accordance with the Company’s or its designee’s standard administrative procedures. If the Enrolling Group
requests that such administrative services be provided in a manner other than in accordance with these standard
procedures, including requests for non-standard reports, the Enrolling Group will pay for such services or reports
at the Company’s or its designee’s then-current charges for such services or reports.
ERISA
When this Policy is purchased by the Enrolling Group to provide benefits under a welfare plan governed by the
Employee Retirement Income Security Act 29 U.S.C., 1001 et seq., the Company will not be named as and will not
be the Plan Administrator or the named fiduciary of the welfare plan, as those terms are used in ERISA.
Examination of Covered Persons
In the event of a question or dispute concerning Coverage for Dental Services, the Company may reasonably
require that a Covered Person be examined at the Company’s expense by a Dentist acceptable to the Company.
Clerical Error
Clerical error will not deprive any individual of Coverage under this Policy or create a right to benefits. Failure to
report the termination of Coverage will not continue such Coverage beyond the date it is scheduled to terminate
according to the terms of this Policy. Upon discovery of a clerical error, any necessary appropriate adjustment in
Premiums will be made. However, no such adjustment in Premiums or Coverage will be granted by the Company
to the Enrolling Group for more than 60 days of Coverage prior to the date the Company received notification of
such clerical error.
Workers’ Compensation Not Affected
The Coverage provided under this Policy does not substitute for and does not affect any requirements for
coverage by workers’ compensation insurance.
Conformity with Statutes
Any provision of this Policy which, on its effective date, is in conflict with the requirements of applicable state or
federal statutes or regulations is hereby amended to conform to the minimum requirements of such statutes and
regulations.
Waiver/Estoppel
Nothing in the Policy, Certificate(s) or Schedule(s) of Covered Dental Services is considered to be waived by any
party unless the party claiming the waiver receives the waiver in writing. A waiver of one provision does not
constitute a waiver of any other. A failure of either party to enforce at any time any of the provisions of the Policy,
Certificate(s) or Schedule(s) of Covered Dental Services, or to exercise any option which is herein provided, will
in no way be construed to be a waiver of such provision of the Policy, Certificate(s) or Schedule(s) of Covered
Dental Services.
Headings
The headings, titles and any table of contents contained in the Policy, Certificate(s) or Schedule(s) of Covered
Dental Services are for reference purposes only and will not in any way affect the meaning or interpretation of the
Policy, Certificate(s) or Schedule(s) of Covered Dental Services.
Unenforceable Provisions
If any provision of the Policy, Certificate(s) or Schedule(s) of Covered Dental Services is held to be illegal or
unenforceable by a court of competent jurisdiction, the remaining provisions will remain in effect and the illegal or
unenforceable provision will be modified so as to conform to the original intent of the Policy, Certificate(s) or
Schedule(s) of Covered Dental Services to the greatest extent legally permissible.




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Notice
Written notice given by the Company to an authorized representative of the Enrolling Group is deemed notice to
all affected Subscribers and their Enrolled Dependents in the administration of this Policy, including termination
of this Policy. The Enrolling Group is responsible for giving notice to Covered Persons.
Any notice sent to the Company under this Policy and any notice sent to the Enrolling Group will be addressed as
described in Exhibit 1.
Continuation Coverage
The Company agrees to provide Coverage under the Policy for those Covered Persons who are eligible to
continue Coverage under federal or state law, as described in the Certificate(s).
The Company will not provide any administrative duties with respect to the Enrolling Group’s compliance with
federal or state law. All duties of the plan sponsor or plan administrator, including but not limited to notification of
COBRA and state law continuation rights, and billing and collection of Premium, remain the sole responsibility of
the Enrolling Group.
Subscriber’s Individual Certificate(s)
The Company will issue Certificate(s), Schedule(s) of Covered Dental Services and any attachments to the
Enrolling Group who will in turn make them available to each covered Subscriber. Such Certificate(s), Sched-
ule(s) of Covered Dental Services and any attachments may be provided in electronic format. The Certificate(s),
Schedule(s) of Covered Dental Services and any attachments will show all the benefits and provisions of the
Policy.




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                            Exhibit 1 to Dental Group Policy
1.   Parties. The parties to this Policy are UnitedHealthcare Insurance Company ("Company") and HARRIS
     PHARMACEUTICALINC ("Enrolling Group").
2.   Effective Date. The effective date of this Policy is July 1, 2020 .
3.   Premiums. The Company reserves the right to change the schedule of rates for Premiums, after 45 days
     prior written notice on the first anniversary of the effective date of the Policy specified in the application or
     on any monthly due date thereafter, or on any date the provisions of the Policy are amended. The
     Company also reserves the right to change the schedule of rates for Premiums, retroactive to the effective
     date, if a material misrepresentation has resulted in a lower schedule of rates.
4.   Computation of Policy Charge.
     A full month’s Premium will be charged for any Covered Person who is Covered under this Policy for any
     portion of a calendar month.
5.   Payment of the Policy Charge. The Policy Charge is payable in advance by the Enrolling Group to the
     Company on a monthly basis.
6.   Minimum Participation Requirement. The minimum participation requirement is 75% of Eligible Persons
     enrolled for Coverage under the Policy.
7.   Notice.
     Any notice sent to the Company under this Policy will be addressed to:

     UnitedHealthcare Insurance Company
     185 Asylum Street
     Hartford, CT 06103-3408


     Any notice sent to Enrolling Group under this Policy will be addressed to:

     HARRIS PHARMACEUTICALINC
     9090 PARK ROYAL DRIVE
     FORT MYERS, FL 339080000
8.   Enrolling Group Number
     G/GA6L8672BW




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                         Exhibit 2 to Dental Group Policy

Premiums
Monthly Premiums payable by or on behalf of Covered Persons are specified in the Cost Summary.




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                        Exhibit 3 to Dental Group Policy

Policy Contents
All of the Dental Services and provisions in the Certificate(s), Schedule(s) of Covered Dental Services,
Amendments and Riders, issued for the Enrolling Group are included and made part of this Policy.




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HARRIS PHARMACEUTICAL INC


                       Master
                Policy and Certificate

                            for your

                         Life Benefits

                     Accident Benefit

                 Dental Expense Benefits
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      UnitedHealthcare Insurance Company


               DENTAL INSURANCE


                   GROUP POLICY

                             FOR

       HARRIS PHARMACEUTICAL INC
                 GROUP NUMBER: G/GA6Y8556BW
                  EFFECTIVE DATE: July 1, 2020
                     DENTAL PLAN: P4881




                     Offered and Underwritten by
                UnitedHealthcare Insurance Company
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                                              Group Policy

                     UnitedHealthcare Insurance Company

                                                 185 Asylum Street

                                              Hartford, CT 06103-3408

                                                  1-800-357-1371


This Group Policy ("Policy") is entered into by and between UnitedHealthcare Insurance Company , and the
"Enrolling Group," as stated in Exhibit 1.
Upon receipt of the Enrolling Group’s application and payment of the required Policy Charges, this Policy is
deemed executed. The Company agrees with the Enrolling Group to provide Coverage for Dental Services set
forth herein, subject to the terms, conditions, exclusions, and limitations of this Policy. The Enrolling Group’s
application is made a part of this Policy.
This Policy replaces and supersedes any previous agreements relating to the Coverage of Dental Services
between the Enrolling Group and the Company. The terms and conditions of this Policy will in turn be superseded
by those of any subsequent agreements relating to the Coverage of Dental Services between the Enrolling Group
and the Company.
The Company will not be deemed or construed as an employer for any purpose with respect to the administration
or provision of benefits under the Enrolling Group’s benefit plan. The Company will not be responsible for fulfilling
any duties or obligations of an employer with respect to the Enrolling Group’s benefit plan.
This Policy will become effective at 12:01 a.m. at the Enrolling Group’s address on the date specified in Exhibit 1,
and will be continued in force by the timely payment of the required Policy Charges when due, subject to
termination of this Policy as provided herein. When the Policy is terminated, as provided for in Article 5, this
Policy and all Coverage under this Policy will end at 12:00 midnight on the date of termination.



               This Policy Contains a Deductible Provision.
This Policy is delivered in and governed by the laws of the State of Florida .


Issued By:

UnitedHealthcare Insurance Company




   William J Golden, President




DPOL.12.FL.SM.CMM                                        1
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                                    Article 1: Definitions
The terms used in this Policy have the same meaning given those terms in the Certific ate of Coverage
("Certificate"), unless otherwise specifically defined in this Policy.


                                Article 2: Dental Services
Subscribers and their Enrolled Dependents are entitled to Coverage for Dental Services subject to the terms,
conditions, limitations and exclusions set forth in the Certificate(s) and Schedule(s ) of Covered Dental Services,
included in this Policy. The Certificate(s) and Schedule(s) of Covered Dental Services describe the Covered
Dental Services including any optional Riders and Amendments, required Copayments, and the terms, con-
ditions, limitations and exclusions related to Coverage.


              Article 3: Premium Rates and Policy Charge
Premiums
Monthly Premiums payable by or on behalf of Covered Persons are specified on Exhibit 2 to the Policy entitled
"Premiums".
The Company reserves the right to change the schedule of rates for Premiums as described in Exhibit 1.
Computation of Policy Charge
Each Policy Charge will be calculated based on the number of Subscribers in each Coverage classification the
Company shows in its records at the time of calculation, at the Premiums then in effect. The Policy Charge is
calculated as described in Exhibit 1.
Adjustments to the Policy Charge
Retroactive adjustments may be made for any additions or terminations of Subscribers or changes in Coverage
classification not reflected in the Company’s records at the time the Policy Charge is calculated by the Company.
However, no retroactive credit will be granted for any change occurring more than 60 days prior to the date the
Company received notification of the change from the Enrolling Group, nor will retroactive credit be granted for
any calendar month in which a Subscriber has received Dental Services.
The Enrolling Group will notify the Company in writing within 30 days of the effective date of enrollments,
terminations or other changes; provided, however, that the Enrolling Group will notify the Company in writing
each month of any changes in the Coverage classification of any Subscriber.
In the event there is any increase in premium tax, guarantee or uninsured fund assessment or other governmental
charges relating to or calculated in regard to Premium such increase will be automatically added to the Premium.
Payment of the Policy Charge
The Policy Charge is payable in advance by the Enrolling Group to the Company as described in Exhibit 1. The
first Policy Charge is due and payable on the effective date of the Policy. Subsequent Policy Charges are due and
payable no later than the first day of each period thereafter that the Policy is in effect.
A late payment charge will be assessed for any Policy Charge not received by the due date. A service charge will
be assessed for any non-sufficient-fund check received in payment of the Policy Charge. All Policy Charge
payments will be accompanied by supporting documentation which states the names of the Covered Persons for
whom payment is made.
The Enrolling Group will reimburse the Company for attorney’s fees and any other costs related to collecting
delinquent Policy Charges.




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Grace Period
A Grace Period of 31 days will be granted for the payment of any Policy Charge, during which time the Policy will
continue in force. In no event will the Grace Period extend beyond the date the Policy terminates.
This Policy will automatically terminate on the last day of the calendar month the Grace Period expires and any
Policy Charge remains unpaid, or if the Company receives written notice of termination from the Enrolling Group
during the Grace Period.


        Article 4: Eligibility and Effective Date of Coverage
Initial Eligibility Period
Eligible Persons and their Dependents may enroll for Coverage under the Policy during the Initial Eligibility
Period. The Initial Eligibility Period is the period of time agreed to by the Enrolling Group and the Company.
Open Enrollment
If specified in the Certificate , the Enrolling Group will provide an Open Enrollment Period as specified in the
Certificate, during which Eligible Persons may enroll for Coverage under the Policy.
Eligibility Conditions
The eligibility conditions stated in the application are in addition to those specified in Section 2 of the Certificate.
Effective Date of Coverage
Coverage for properly enrolled Eligible Persons and their Dependents will begin on the date stated in Exhibit 1.


                               Article 5: Policy Termination
Conditions for Termination of This Entire Policy
This Policy and all Coverage under this Policy will automatically terminate on the earliest of the dates specified
below:
A.   At the Company’s option, retroactive to the last paid date of Coverage, if the Grace Period expires and any
     Policy Charge remains unpaid.
B.   On the date specified by the Enrolling Group, after at least 45 days prior written notice to the Company
     that this Policy will be terminated.
C.   On the date specified by the Company in written notice to the Enrolling Group that this Policy will be
     terminated, due to the Enrolling Group’s violation of participation and contribution rules.
D.   On the date specified by the Company in written notice to the Enrolling Group that this Policy will be
     terminated because the Enrolling Group provided the Company with false information material to the
     execution of this Policy or to the provision of Coverage under this Policy. The Company has the right to
     rescind this Policy back to the effective date.
E.   On the date specified by the Company in written notice to the Enrolling Group that this Policy will be
     terminated because the Enrolling Group does not provide us with information that we need to administer
     the Policy or fails to perform any of its obligations that relate to the Policy.
F.   On the date specified by the Company after at least 90 days prior written notice to the Enrolling Group that
     this Policy will be terminated because the Company will no longer renew or issue this type of dental benefit
     plan within the applicable market.
G.   On the date specified by the Company after at least 180 days prior written notice to the applicable state
     authority and to the Enrolling Group that this Policy will be terminated because the Company will no
     longer renew or issue any employer dental benefit plan within the applicable market.




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Payment and Reimbursement Upon Termination
Upon any termination of this Policy, the Enrolling Group will be and will remain liable to the Company for the
payment of any and all Premiums which are unpaid at the time of termination, including a pro rata fee for any
period this Policy was in force during the Grace Period, if any, preceding the termination.


                            Article 6: General Provisions
Entire Policy
The Policy, including the Certificate(s), Schedule(s) of Covered Dental Services, the application of the Enrolling
Group, any individual Subscriber applications, Amendments and Riders will constitute the entire Policy between
parties. All statements made by the Enrolling Group or by a Subscriber will, in the absence of fraud, be deemed
representations and not warranties.
Time Limit on Certain Defenses
No statement made by the Enrolling Group, except a fraudulent statement, will be used to void this Policy after it
has been in force for a period of 2 years.
Amendments and Alterations
Amendments to the Policy are effective upon 45 days written notice to the Enrolling Group. Riders are effective on
the date specified by the Company. No change will be made to this Policy unless made by an Amendment or a
Rider which is signed by an executive officer of the Company. No agent has authority to change this Policy or to
waive any of its provisions.
Relationship Between Parties
The relationships between the Company and providers and relationships between the Company and Enrolling
Groups, are solely contractual relationships between independent contractors. Providers and Enrolling Groups
are not agents or employees of the Company, nor is the Company or any employee of the Company an agent or
employee of providers or Enrolling Groups.
The relationship between a provider and any Covered Person is that of provider and patient. The provider is
solely responsible for the services provided by it to any Covered Person. The relationship between any Enrolling
Group and any Covered Person is that of employer and employee, Dependent, or other Coverage classification
as defined in this Policy. The Enrolling Group is solely responsible for enrollment and Coverage classification
changes (including termination of a Covered Person’s Coverage through the Company) and for the timely
payment of the Policy Charge.
Records
The Enrolling Group will furnish the Company with all information and proofs which the Company may reasonably
require with regard to any matters pertaining to this Policy. The Company may at any reasonable time inspect all
documents furnished to the Enrolling Group by an individual in connection with the Coverage, and the Enrolling
Group’s payroll, and any other records pertinent to the Coverage under this Policy.
By accepting Benefits under this Policy, each Covered Person authorizes and directs any person or institution
that has provided services to them, to furnish the Company or it’s designees any and all information and records
or copies of records relating to the services provided to the Covered Person. The Company has the right to
request this information at any reasonable time. This applies to all Covered Persons, including Enrolled
Dependents whether or not they have signed the Subscriber’s enrollment form.
The Company agrees that such information and records will be considered confidential. The Company has the
right to release any and all records concerning dental services which are necessary to implement and administer
the terms of this Policy, for appropriate medical review or quality assessment, or as the Company is required by
law or regulation.
During and after the term of the Policy, the Company and its related entities may use and transfer the information
gathered under the Policy for research and analytic purposes.




DPOL.12.FL.SM.CMM                                      5
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Administrative Services
The services necessary to administer this Policy and the Coverage provided under it will be provided in
accordance with the Company’s or its designee’s standard administrative procedures. If the Enrolling Group
requests that such administrative services be provided in a manner other than in accordance with these standard
procedures, including requests for non-standard reports, the Enrolling Group will pay for such services or reports
at the Company’s or its designee’s then-current charges for such services or reports.
ERISA
When this Policy is purchased by the Enrolling Group to provide benefits under a welfare plan governed by the
Employee Retirement Income Security Act 29 U.S.C., 1001 et seq., the Company will not be named as and will not
be the Plan Administrator or the named fiduciary of the welfare plan, as those terms are used in ERISA.
Examination of Covered Persons
In the event of a question or dispute concerning Coverage for Dental Services, the Company may reasonably
require that a Covered Person be examined at the Company’s expense by a Dentist acceptable to the Company.
Clerical Error
Clerical error will not deprive any individual of Coverage under this Policy or create a right to benefits. Failure to
report the termination of Coverage will not continue such Coverage beyond the date it is scheduled to terminate
according to the terms of this Policy. Upon discovery of a clerical error, any necessary appropriate adjustment in
Premiums will be made. However, no such adjustment in Premiums or Coverage will be granted by the Company
to the Enrolling Group for more than 60 days of Coverage prior to the date the Company received notification of
such clerical error.
Workers’ Compensation Not Affected
The Coverage provided under this Policy does not substitute for and does not affect any requirements for
coverage by workers’ compensation insurance.
Conformity with Statutes
Any provision of this Policy which, on its effective date, is in conflict with the requirements of applicable state or
federal statutes or regulations is hereby amended to conform to the minimum requirements of such statutes and
regulations.
Waiver/Estoppel
Nothing in the Policy, Certificate(s) or Schedule(s) of Covered Dental Services is considered to be waived by any
party unless the party claiming the waiver receives the waiver in writing. A waiver of one provision does not
constitute a waiver of any other. A failure of either party to enforce at any time any of the provisions of the Policy,
Certificate(s) or Schedule(s) of Covered Dental Services, or to exercise any option which is herein provided, will
in no way be construed to be a waiver of such provision of the Policy, Certificate(s) or Schedule(s) of Covered
Dental Services.
Headings
The headings, titles and any table of contents contained in the Policy, Certificate(s) or Schedule(s) of Covered
Dental Services are for reference purposes only and will not in any way affect the meaning or interpretation of the
Policy, Certificate(s) or Schedule(s) of Covered Dental Services.
Unenforceable Provisions
If any provision of the Policy, Certificate(s) or Schedule(s) of Covered Dental Services is held to be illegal or
unenforceable by a court of competent jurisdiction, the remaining provisions will remain in effect and the illegal or
unenforceable provision will be modified so as to conform to the original intent of the Policy, Certificate(s) or
Schedule(s) of Covered Dental Services to the greatest extent legally permissible.




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Notice
Written notice given by the Company to an authorized representative of the Enrolling Group is deemed notice to
all affected Subscribers and their Enrolled Dependents in the administration of this Policy, including termination
of this Policy. The Enrolling Group is responsible for giving notice to Covered Persons.
Any notice sent to the Company under this Policy and any notice sent to the Enrolling Group will be addressed as
described in Exhibit 1.
Continuation Coverage
The Company agrees to provide Coverage under the Policy for those Covered Persons who are eligible to
continue Coverage under federal or state law, as described in the Certificate(s).
The Company will not provide any administrative duties with respect to the Enrolling Group’s compliance with
federal or state law. All duties of the plan sponsor or plan administrator, including but not limited to notification of
COBRA and state law continuation rights, and billing and collection of Premium, remain the sole responsibility of
the Enrolling Group.
Subscriber’s Individual Certificate(s)
The Company will issue Certificate(s), Schedule(s) of Covered Dental Services and any attachments to the
Enrolling Group who will in turn make them available to each covered Subscriber. Such Certificate(s), Sched-
ule(s) of Covered Dental Services and any attachments may be provided in electronic format. The Certificate(s),
Schedule(s) of Covered Dental Services and any attachments will show all the benefits and provisions of the
Policy.




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                            Exhibit 1 to Dental Group Policy
1.   Parties. The parties to this Policy are UnitedHealthcare Insurance Company ("Company") and HARRIS
     PHARMACEUTICALINC ("Enrolling Group").
2.   Effective Date. The effective date of this Policy is July 1, 2020 .
3.   Premiums. The Company reserves the right to change the schedule of rates for Premiums, after 45 days
     prior written notice on the first anniversary of the effective date of the Policy specified in the application or
     on any monthly due date thereafter, or on any date the provisions of the Policy are amended. The
     Company also reserves the right to change the schedule of rates for Premiums, retroactive to the effective
     date, if a material misrepresentation has resulted in a lower schedule of rates.
4.   Computation of Policy Charge.
     A full month’s Premium will be charged for any Covered Person who is Covered under this Policy for any
     portion of a calendar month.
5.   Payment of the Policy Charge. The Policy Charge is payable in advance by the Enrolling Group to the
     Company on a monthly basis.
6.   Minimum Participation Requirement. The minimum participation requirement is 75% of Eligible Persons
     enrolled for Coverage under the Policy.
7.   Notice.
     Any notice sent to the Company under this Policy will be addressed to:

     UnitedHealthcare Insurance Company
     185 Asylum Street
     Hartford, CT 06103-3408


     Any notice sent to Enrolling Group under this Policy will be addressed to:

     HARRIS PHARMACEUTICALINC
     9090 PARK ROYAL DRIVE
     FORT MYERS, FL 339080000
8.   Enrolling Group Number
     G/GA6Y8556BW




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                         Exhibit 2 to Dental Group Policy

Premiums
Monthly Premiums payable by or on behalf of Covered Persons are specified in the Cost Summary.




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                        Exhibit 3 to Dental Group Policy

Policy Contents
All of the Dental Services and provisions in the Certificate(s), Schedule(s) of Covered Dental Services,
Amendments and Riders, issued for the Enrolling Group are included and made part of this Policy.




DPOL.12.FL.SM.CMM                                 10
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UNITEDHEALTHCARE INSURANCE COMPANY


                  LIFE INSURANCE

 ACCIDENTAL DEATH, DISMEMBERMENT
     OR LOSS OF USE INSURANCE


                   GROUP POLICY
                       FOR

       HARRIS PHARMACEUTICAL INC
                 GROUP NUMBER: G/GA6Y8556BW




                     Offered and Underwritten by
                UnitedHealthcare Insurance Company
               Case 2:23-ap-00009-FMD             Doc 27-5       Filed 07/13/23      Page 38 of 42

                                     UnitedHealthcare Insurance Company
                                              185 Asylum Street
                                            Hartford, Connecticut
                                                (Home Office)


Policyholder: HARRIS PHARMACEUTICALINC
Policy Number: G/GA6Y8556BW
Effective Date: July 1, 2020
Premium Due Date: July 1 and the first day of each month thereafter
Policy Anniversaries will be each July 1


We, UnitedHealthcare Insurance Company, agree to provide, for eligible persons becoming insured under the
Policy, the benefits according to the terms, provisions and limitations of it. The following pages, including any
riders, endorsements or amendments, are part of the Policy.
The Policy is issued in consideration of the Policyholder’s application, a copy of which is attached.
The Policy becomes effective at 12:01 A.M. Eastern Standard time on the Effective Date shown above. The Policy
will continue in force by the payment of premiums when due. The Policy is subject to termination according to its
terms.
Read the Policy Carefully
This is a legal contract between the Policyholder and Us. If the Policyholder has any questions or problems with
the Policy, We will be ready to help the Policyholder. The Policyholder may call upon his agent or Our Home
Office for assistance at any time.
The Policy is issued in and governed by the laws of the State in which it is delivered.
We have, by its President and Secretary, executed the Policy at Hartford, Connecticut. If the Policyholder or the
Covered Person have questions, need information about their insurance, or need assistance in resolving
complaints, call 866-293-1794.




            Secretary

                                                                  William J Golden, President

         Group Life, Accidental Death and                      Administrative Office:
         Dismemberment Insurance Policy                        9900 Bren Road East
         Nonparticipating                                      Minnetonka, MN 55343




LASD-POL-FL(05/03)                                                                                            1
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                                       POLICY GENERAL PROVISIONS

Certificates: The Policyholder will be furnished with individual Certificates for delivery to each Covered Person.
These certificates summarize the benefits provided by the Policy. If there is a conflict between the Policy and the
Certificate, the Policy will control.
Conformity With State or Federal Statutes: If any provision of the Policy conflicts with any applicable law, the
provision will be deemed to conform to the minimum requirements of the law.
Entire Group Contract: The entire Group Contract between the Policyholder and Us consists of the Policy,
Certificate and the Policyholder’s application (a copy of which is attached). All statements made by the
Policyholder and by any Covered Person are representations and not warranties. No statement made by the
Covered Person will be used to contest the insurance provided by the Policy, unless:
1.   it is contained in a written statement signed by the Covered Person; and
2.   a copy of the statement is furnished to the Covered Person or beneficiary.
Only We may change the Policy or extend the time for payment of any premium. No change will be valid unless
made in writing and signed by Us. Any change so made will be binding on all persons referred to in the Policy.
No agent has the authority to change the Policy or waive any of the provisions. For purposes of the Policy, the
Policyholder acts on its own behalf, or as the Covered Person’s agent. The Policyholder is not an agent of Ours.
Incorporation Provision: The provisions of the attached Certificate(s), any riders, endorsement s and any
amendments, including any Certificate, rider, endorsements and amendment issued after the Policy Effective
Date, are made a part of the Policy.
Nonparticipation: The Policy will not be entitled to share in Our surplus earnings.
Termination of the Policy: The Policy or line of insurance (if applicable) may be canceled by either the
Policyholder or Us. We may cancel or offer to modify the Policy if any of the following occurs:
1.   less than 75% of all eligible Employees are participating, if the employer contributes partially towards the
     cost of insurance;
2.   less than 100% of all eligible Employees are participating, if the employer contributes in whole towards the
     cost of insurance;
3.   the Policyholder does not provide Us with information that We need to administer the Policy;
4.   the Policyholder fails to perform any of its obligations that relate to the Policy;
5.   the date the number of Covered Persons decreases to less than 2 under the Policy or line of insurance (if
     applicable);
6.   on the last day of the Grace Period, if the next payment is not made.
If the Policyholder fails to pay any premium within the Grace Period, the Policy will terminate without further
notice retroactive to the last day of the Grace Period. The Policyholder will remain liable for payments of a pro
rata premium for the time the Policy remains in-force during the Grace Period. The Policyholder must pay Us all
premium due for the full period the Policy is in effect. We reserve the right to review and terminate all classes
insured under the Policy, if any class(es) cease to be insured.




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UNITEDHEALTHCARE INSURANCE COMPANY


                  LIFE INSURANCE

 ACCIDENTAL DEATH, DISMEMBERMENT
     OR LOSS OF USE INSURANCE


                   GROUP POLICY
                       FOR

       HARRIS PHARMACEUTICAL INC
                 GROUP NUMBER: G/GA6L8672BW




                     Offered and Underwritten by
                UnitedHealthcare Insurance Company
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                                     UnitedHealthcare Insurance Company
                                              185 Asylum Street
                                            Hartford, Connecticut
                                                (Home Office)


Policyholder: HARRIS PHARMACEUTICALINC
Policy Number: G/GA6L8672BW
Effective Date: July 1, 2020
Premium Due Date: July 1 and the first day of each month thereafter
Policy Anniversaries will be each July 1


We, UnitedHealthcare Insurance Company, agree to provide, for eligible persons becoming insured under the
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This is a legal contract between the Policyholder and Us. If the Policyholder has any questions or problems with
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The Policy is issued in and governed by the laws of the State in which it is delivered.
We have, by its President and Secretary, executed the Policy at Hartford, Connecticut. If the Policyholder or the
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            Secretary

                                                                  William J Golden, President

         Group Life, Accidental Death and                      Administrative Office:
         Dismemberment Insurance Policy                        9900 Bren Road East
         Nonparticipating                                      Minnetonka, MN 55343




LASD-POL-FL(05/03)                                                                                            1
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                                       POLICY GENERAL PROVISIONS

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Certificate and the Policyholder’s application (a copy of which is attached). All statements made by the
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Covered Person will be used to contest the insurance provided by the Policy, unless:
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2.   a copy of the statement is furnished to the Covered Person or beneficiary.
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No agent has the authority to change the Policy or waive any of the provisions. For purposes of the Policy, the
Policyholder acts on its own behalf, or as the Covered Person’s agent. The Policyholder is not an agent of Ours.
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rata premium for the time the Policy remains in-force during the Grace Period. The Policyholder must pay Us all
premium due for the full period the Policy is in effect. We reserve the right to review and terminate all classes
insured under the Policy, if any class(es) cease to be insured.




LASD-POL-FL(05/03)                                       PG(FL)                                                     2
